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                         CASE NO    .   1:01-CR -00423-PCH -1
                                                                     AtJ6 1$ 2021
 UN ITED STA TE S O F A M ERICA ,                                    ft:'
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                                                                               kv,
                                                                                tA'
                                                                                  t,.
    Plaintiff,



 1G 1V BER N A R D BELL ,

   Defendant.

                                           /
   M O TIO N TO CO R RECT PRESENTEN CE INVESTIGA TION REPOR T
   CO M ES NO W ,D efendantK arlBernard Bell, pro se,hereby,respectfully
 movesthisH onorable Courtto makethefollow ing clericalcorrectionsto his
 Presentence lnvestigation R eportpursuantto Fed R .Crim .P.36.
                                                    .




                                        I.JU R ISD IC TIO N
   Fed.R .Crim .P.36 provides, in part,thata courtm ay,atany tim e, correcta
 clericalerrorin ajudgmentorder,orotherpartoftherecord arising from oversight
 orom ission.Rule 36 m ay notbe used to m akea substantive alteration to a crim inal
sentence.Portilla,363 F.3dat1164(intem alquotation marksomitted)(citations
omitted).In Portillo,thisCourtfavorablycited Second Circuitprecedentholding
thatadistrictcourthasnojurisdiction to correctadefendant'ssentencewherethe
correctionsare aim ed atrem edying errorsof1aw ratherthan m eretranscription. 1d.
(citing United Statesv.W eber,51F.3d342,347(2ndCir.1995))Examplesof
clericalerrors include arithm etic m istakes, U nited States v.Jam es,642 F.3d 1333,
1343 (11thCir.2011)(purcuriam),anddiscrepanciesbetweenadistrictcourt's
oralandwrittenjudgments,Portillo,363 F.3d at1164.
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                                   II.BA CK GR O UN D
   Bellwascharged in atwo-countlndictm entwith (CountOne)distributing five
 gram sorm ore ofcocaine base in violation of21U S.
                                                  C.j841(a)(1)and (b)(1)(B)
                                                        .


 and(CountTwo)distributing 50 gram sormoreofcocainebaseinviolationof21
 U.S.C.j841(a)(1)and (b)(1)(A).(ECF).Priorto trial,theGovernmenttiled a21
 U.S.C.j851informationnotice(ECF 27).Thej851enhancementnotice
 increased Bell'sm andatory m inim um to life in prison ifconvicted ld.
                                                                      .



   O n A ugust 17,2001,B ellw as found guilty ofboth charges in the indictm ent   .

 (ECF 39).ThePSR detenninedthatBellwasaccountablefor983 gram s of .

 cocaine base,producing a base offense levelof32 (PSR ! 18).Butbecausethe
                                                    .

 PSR also found thatB ellw as a careeroffender, B ell'stotaloffense levelbecam e
 37.(PSR !23).
   The Courtadopted the PSR and sentenced B ellto life im prisonm entbased on
 thej851enhancem entnotice.(Sent.Tr.at38).
   O n A ugust 9,2019, the D istrictCourtissued an Orderam ending itsJudgm ent
                                                                              ,
 reducing Bell'ssentence from Life to 370 m onthsim prisonm ent pursuantto 18
                                                                  ,
 U.S.C.j3582(c)(2),Amendments706and 782,and FairSentencing Actof2014                  .

 See D oc.529.



                                 111.A R G U M EN T


   In U .S.v.R am irez-G onzalez, 840F.3d240 (5t
                                               hCir.2016),theCourtheld,çt-f'he
allegedly-en-oneousPSR implicates sufficientcollateralconsequencesto preserve
a livecontroversy.ln United Statesv. M ccay,757F.3d 195(5thCir.2014),this
Courtfound thata clericalerrorin the PSR wastnotharm lessbecause itaffects
gthedefendant's)substantialrights',andthatClljikeajudgement,thePSR
determ ines the rights and obligations ofthe defendantgoing forward. '''

  In United Statesv.Crawley,463 Fed Appx.418,421(11t
                                        .                      hCir.2012),theCourt
held that,itW hile there m ay be circum stances w here the line betw een clericalerror
andjudicialerrorisunclear,wehavegenerallyfoundthatcorrection ofaclerical
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  erroroccurs w hen the m odification neitheraffects a party's substantive rights nor
  contradictsthecourt'sand theparties'intentionsastothejudgment.See, e.g.,
  U nited Statesv.Spencer, 513F.
                               3d490,491(5thCir.2008)(égcjourtshavedeemed
 Rule36 the appropriate m echanism foram endm entsthatdo notsubstantively alter
 thesentenceannounced orallybutrathercorrecterrorsin writtenjudgments')                       .



     AtSentencing the partiesdiscussed differentconvictionsin the contextof
 whetherthey qualified forthe j851enhancementnotice.ButtheCourtwasnot
 called to decide whetherBellw asassigned erroneouscrim inalhistory points
 becausethesentencewasbeing driven bythej851enhancementl                         .



  Bellwasgiven six additionalcriminalhistorypointsforthesentencesinPSR !!
 !!! 35,36,37,39 and40pursuantto4A 1.1(b)and (c).Bellisrespectfullyasking
 this Courtto correcthis Presentence Investigation R eportby rem oving these six
 crim inalhistory points.

   Bellwasgiventwo additionalcriminalhistorypointsforthesentenceinPSR !
 35pursuantto4A 1.1(b).Theconviction forPSR !35isdescribed aslçBattery''for
 CaseNo.F90014559.Both sentencesforPSR !!34 and 35wasconsolidated for
 sentencing on the sam e date - M arch 19, 1991.PursuanttoU.S.S.G j4A 1.2 (a)(2)
 tkconsolidated forTrialorSentencing.''U nderA pplication N ote 3, prioroffenses
 thatw ereconsolidated fortrialforsentencing should be treated asrelated                  .

 Accordingly,casesthatareconsolidated fortrialorsentencing have been held by
 the courtsto be related z  .




      Therefore,pursuantto j4A 1.2(a)(2),theseadditional2 crim inalhistory
 points are clericalerrors.




11.Anyobjectiontocriminalhistory pointsatthetimeofsentencing, in Iightofthej851enhancementwould not
have been ripe forconsideration. ThisisbecauseresolvingwhetherBellwasgivenerroneouscrim inalhistory
pointswasunnecessarytothe determ inationofthe sentence. UnderFed R.Crim .P.32,the Courtneed notresolve
objectionstothe PSR thatdonotaffectthe sentence.
2 U.S.v.Del
          vecchio.921F.2d81O(lltbcir.1991)(Casesconsolidatedforsentencingwererelatedeventhough
theywereseparated byovertwoyearsand the chargesthatIed to the convictionswerefiled indifferentco
                                                                                                  urts.).
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    B ellisrespectfully asking this Courtto correctthe clericalerrorsin his
  Presentencelnvestigation Reportby rem oving thesetwo crim inalhistory pointsfor
 thesentencein PSR ! 35.
   ThePSR also issued four(4)criminalhistorypointsformisdemeanor
 convictionspursuantto4A 1.1(c).(PSR !!!!36,37,39 40).AsthePSR indicates,
 allofthe above m entioned sentenceshave m isdem eanor Case N o. 's. Sentencesfor
 certain speciûed non-felony offensesare counted only ifthey m eetcertain
 requirements.Seej4A 1.2(c)(1).
   SentencesCounted and Excluded;étsentencesforallfelony offensesare
 counted.Sentences form isdem eanorand petty offenses are counted, exceptas
 follows:(l)Sentencesforthefollowingprioroffensesandoffensessimilarto
 them ,by whatevernam ethey are known, arecounted onlyif(A)thesentencewas
 a term ofprobation ofatleastone yearora tel'm of im prisonm entofat leastthirty
 days,or(B)theprioroffensewassimilarto an instantoffense.''
   Theconviction forPSR jj36 isdescribedasitpossession ofMarijuana''forCase
 N o.M 91083 160.1d.B ellw as sentenced on O ctober 14, 1992,to perform
 com munity service and assess$180 in tinesand courtcosts .



   Theconviction forPSR !37 isdescribed asiscriminalM ischief'forCaseNo       .

 M 92057117.ld.B ellw as sentenced on April30, 1992,to probation w ith special
 conditions.

   Theconviction forPSR !39 isdescribedasftpossession ofM arijuana''forCase
 N o.M 99003084.ld.ThePSR show sthatBelldid notreceive a sentence of
 probation ofatleastone yearorthathe wasimprisoned foratleastthirty days, or
 isthisoffense sim ilarto Bell'sinstantoffense
                                            .




   Theconviction forPSR !40 isdescribed asddpossessionofM arijuana''forCase
N o.M 99046643.1d.The PSR show s thatB elldid notreceive a sentence of
probation ofatleastone year orthathe w as im prisoned foratleastthirty days, or
isthisoffense sim ilarto Bell's instantoffense..

   ThesentencesfortheconvictionsinPSR !!!!36,37,39,and40wasnotfora
term ofprobation ofatleastone yearoraterm ofimprisonm entofatleastthirty


                                       4
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  days or sim ilar to B ell's instantoffense. Therefore,pursuantto j4A 1.2(c)(1),these
  additional4 crim inalhistory pointsareclericalenors   .



   Bellisrespectfully asking thisCourtto correcttheclericalerrorsin his
 Presentence Investigation R eportby rem oving these fourcrim inalhistory points
 forthesentencesin PSR !!!!36,37,39 and40.
     Bellcontendsthatthe PSR isincorrectdueto clericalerrorsand asaresulthis
 Sithreatassessm ent''has been im properly increased.



   M r.BellasksthisCourtto correcthisPresentence lnvestigation Reportso that
 he m ay participate in programm ing thatwillequip him with skillshew illneed
 when he isreleased.By correcting these errors, Bellwillbeable to attain a lower
 security transfer.

   BecauseBellhas 13 crim inalhistory pointshe cannotbe transferred to a FC1       -


 CAM P.(SeeEx.A)
   The follow ing program s are available atan FCI-CA M P thatare notavailable at
 aFCI-M ED:ResidentialDrug AbuseProgram IRDAPI;Post-secondary Program s
 (viapaidcorrespondence);AdvancedOccupationalEducation in Custodial
 M aintenance and IW A C -I;V ocationaltraining in D rafting;A pprenticeships in
 plum bing,electrical,HV AC;and UN ICOR facility thatproducestextilesand
 clothing.

   These arethetypesofprogram sthatwillbe beneficialforM r B ellto participate
                                                                  .




                                  CON CLUSION
  M r.Bellis respectfully requesting thatthis H onorable Court, pursuantto Fed.R .
Crim .P.36,to correctthe clericalerrorsarising from oversightsorom issions in
hisPresentence lnvestigation R eport.

   According toU.S.S.G j4A1.2 (a)(2) and j4A 1.2(c)(1)thereareclericalerrors
in Bell'sPSR .Bellshould nothave 13 crim inalhistory points B ellisrespectfully
                                                              .

requesting thatthis H onorable Courtrem ove the six additionalcrim inalhistory
points.So thathisPSR reflectsthatheonly hasseven crim inalhistory points.
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                             R espectfully Subm itted,


                          K arlB ernard B ell67340-004




                        C ER T IFICA TE O F SER V IC E

    1FIEREB Y CERTIFY thata true and correctcopy ofthe foregoing M otion w as
 placed in the institutionalm ailbox,w ith U . S.FirstC lass postage,to A U SA
 YvonneRodriguez-shack,at99 N .E.4TH Street, M iam i,FL 33132-2111this
  /J * day ofA ugust, 2021.

                            R espectfully Subm itted,




                          K arlB ernard Bell67340-004

                                 Fcl-Edgefield

                                 P.O .B O X 725

                             Edgefield,SC 29824
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